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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS


                                                                            MDL Docket No. 1629
In re: NEURONTIN MARKETING,
       SALES PRACTICES AND                                                  Master File No. 04-10981
       PRODUCTS LIABILITY LITIGATION
     ------------------------------------                               x Judge Patti B. Saris
THIS DOCUMENT RELATES TO:
                                                                            Magistrate Judge Leo T.
                                                                            Sorokin
ALL PRODUCTS LIABILITY CASES IDENTIFIED ON
EXHIBIT 1 TO THE DECLARATION OF SCOTT W.
SAYLER, ESQ. FILED WITH MEMORANDUM IN
SUPPORT OF MOTION FOR SUMMARY JUDGMENT


                                                                        x

            PFIZER INC AND WARNER-LAMBERT COMPANY LLC'S NOTICE
                    OF WITHDRAWAL OF FEDERAL PREEMPTION
                  GROUND IN MOTION FORSUMMARYJUDGMENT

        In light of the United States Supreme Court's decision in Wyeth v. Levine, No. 06-1249

(U.S. Mar. 4, 2009), defendants Pfizer Inc and Warner-Lambert Company LLC ("Defendants")

hereby withdraw from their Motion for Summary Judgment (Dkt. #1161) and accompanying

Memoranda in Support (Dkt. #1162, #1243) the ground of federal preemption.               Defendants

reserve their rights to raise the issue in connection with any trial.

        Notwithstanding the withdrawal of the preemption argument, defendants maintain that

summary judgment on plaintiffs' claims is still warranted based upon the other independent

grounds set forth in the motion. Specifically, plaintiffs lack admissible expert testimony required

to satisfy plaintiffs' burden of proving general causation (i.e., that Neurontin is capable of

causing suicide-related events) and defendants had no duty to warn of information that they

neither knew nor were capable of knowing through the exercise of reasonable care. Finally,

defendants have filed motions for summary judgment in the Bulger and Smith cases based on


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multiple case-specific grounds that provide further independent grounds for the dismissal of

those plaintiffs' claims. The Court has scheduled oral argument on these motions to take place

on March 31, 2009.

Dated: March 9, 2009                       Respectfully submitted,

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                                                   James P. Rouhandeh

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                                                    - and -

                                           WHITE AND WILLIAMS LLP


                                           By:     /s/ David B. Chaffin
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                                           Warner-Lambert Company LLC




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                             CERTIFICATE OFSERVICE

       I hereby certify that this document filed through the ECF system has been served
pursuant to Case Management #3 on March 9, 2009.

                                               /s/ David B. Chaffin




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